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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW HAMPSHIRE

Plaintiff(s)

        Kenneth Danielson

               V.                                         Civi l No: 1:20-cv-782

Defendant(s)                                              Jury Trial Demanded

        Tourist Village Motel, Inc.




                    CIVIL COMPLAINT AND DEMAND FOR JURY TRIAL

        NOW COMES the Plaintiff, Kenneth Danielson, by and through his Attorneys, Waystack

Frizzell, Trial Lawyers, and hereby states as follows:


                                           DECLARATION

                                  PARTIES AND JURISDICTION

    I . Kenneth Danielson (hereinafter referred to as " Plaintiff') is a resident of the Town of

        Peacha m, County of Ca ledonia, and the State of Vermont, w ith a mailing address of PO

        Box 35, Peacham, Vermont 05862.

   2. Touri st Village Motel, Inc. (hereinafter referred to as " Defendant") was at all times

        relevant, a New Hampshire limited liabi lity corporation . It owns the property at 144

        Main Street in Gorham, New Hampshire (hereinafter referred to as " the premises"). The

        Defendant's mailing address is 60 Mason, Street, Berl in, New Hampshire 03570.

   3. Plaintiff alleges an amount in controversy in excess of Seventy-Five Thousand Dollars

       ($75,000.00) exclusive of interests and costs.
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4. This court has jurisdiction over this action, pursuant to 28 U .S.C. § 1332 because the

    amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00) and because

    there is complete diversity of citizens hip between the Plaintiff and the Defendant.

                                FACTUAL BACKGROUND

5. The Plaintiffwas residing as a tenant at an apat1ment at the property at 144 Main Street

    in Gorham, New Hamps hire while working for his employer, Androscoggin Valley

    Hospital ("the hospital"). The hospital was paying the Defendant for the rental charges

    of the Plaintiff. In fact, the hospital was pay ing the rental charges of several physicians

    who would stay in different apa11ments at 144 Main Street in Gorham.

6. The Defendant was aware that it was renting apartments at this premises to physicians

    who were working at the hospita l.

7. On January 11 , 2018, at approximately 6:30a.m. as Plaintiff was leav ing the premises at

    144 Main Street in Gorham to go on duty at the hospital, he sl ipped on one of the stairs

    which led from the front door of the premises to the ground level and fell on his back,

    injuring himself.

8. The four stairs that lead from the front door to the ground level had accumulated snow

    and ice. The snow and ice were not shoveled, nor were the stairs treated with ice melting

    products or sand.

9. As a result of hi s fall o n the exterior stairs of the premises, the plaintiff was injured. His

    injuries included a tear of the rotator c uff tissue in his right shoulder.




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10. Following surgery, the Plaintiff was unable to work for twenty-three (23) weeks and thus

    s uffered significant loss of income. The Plaintiff is a surgeon and hi s average weekly

    wages/ income were $8,000.00 per week.

                                COUNT I- NEGLIGENCE

ll. In a plea of the case, the previous paragraphs are re-alleged herein.

12. As property owner, the Defendant had a duty to properly maintain its premises in a

    reasonab ly safe condition, inc luding removi ng unsafe accumulations of ice and s now

    from the stairways to access the property . In addition, the Defendant had a duty to apply

   sand and/or ice melting products to prevent fa ll s from unsafe, icy and slippery surfaces. It

   a lso had a duty to provide a safe walkway so that those w ho occupied the premises,

    inc luding the Plaintiff, cou ld safely gain access and egress from the prem ises.

13. Yet, nevertheless, Defendant breached these duties to the Pla intiff, in that it failed to

   properly mainta in its prem ises in a reaso nably safe manner, fa iled to take appropriate

   steps to prevent the existence of unsafe, icy and slippery surfaces on the stairway, fai led

   to use ice m e lting products and/or sand, failed to remove accumu lated ice and snow, and

   otherwise failed to use due care in the maintenance of the prope1ty.

14. As a d irect and proximate resu lt ofthe negligence of the Defendant, as described above,

   the Plaintiff suffered painfu l injuries requiring surgery, incurred medica l expenses,

   suffe red significant lost income, and suffered other injuries and losses .

15. Said losses are a ll to the damage of the Plaintiff, as he says, in serious and substantial

   amounts.




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   16. Wherefore, the Plaintiff has been damaged and demands a tria l by jury and an award of

       damages from Defendant.



Dated: July 17, 2020                                          Respectfully submitted,
                                                              Kenneth Danie lson
                                                              By and through his Attorneys,
                                                              Waystack Frizzell, Trial Lawyers

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